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 9
                          UNITED STATES DISTRICT COURT
10
11                              DISTRICT OF ARIZONA

12
     THOMAS E. PEREZ,                      )      Case No.
13      Secretary of Labor,                )
14      United States Department of Labor, )
                                           )      COMPLAINT FOR INJUNCTIVE
15
                            Plaintiff,     )      RELIEF AND TO RECOVER
16                  v.                     )      AMOUNTS DUE UNDER THE
17                                         )      FAIR LABOR STANDARDS ACT
     ARIZONA LOGISTICS, INC., d/b/a )             (29 U.S.C. § 201 et seq.)
18   DILIGENT DELIVERY SYSTEMS, )
19   an Arizona corporation; PARTS         )
     AUTHORITY ARIZONA, LLC, an Ar- )
20
     izona limited liability company.      )
21                                         )
22                          Defendants.    )
                                           )
23                                         )
24
25
                                    INTRODUCTION
26
           The Secretary brings this action to secure unpaid wages and damages for
27
     employees who work long hours delivering automotive and truck parts through-
28

     COMPLAINT FOR VIOLATIONS OF FLSA                              Page 1 of 36
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 1   out Arizona. Although these workers are essential to Defendants’ business opera-
 2   tions and are not in business for themselves, Defendants treat their employees as
 3   “independent contractors” who are not entitled to the wages and protections guar-
 4   anteed by the Fair Labor Standards Act. Through this misclassification, Defend-
 5   ants also shift their costs as employers onto these workers, resulting in their em-
 6   ployees improperly bearing the burden of Defendants’ portion of Social Security
 7   contributions, workers’ compensation insurance, and other payroll taxes and costs
 8   that an employer is required to pay under relevant law. Defendants’ actions harm
 9   not only their own employees but also law abiding employers who face unfair
10   competition in the marketplace by Defendants’ illegal activity. The Secretary
11   thus brings this case to rectify Defendants’ actions with respect to their employ-
12   ees, competitors, and the significant public interests at stake.
13
14                                       RECITALS
15      1. Plaintiff, Thomas E. Perez, Secretary of Labor, brings this action to enjoin
16         Defendants Arizona Logistics, Inc. d/b/a Diligent Delivery Systems, and
17         Parts Authority Arizona, LLC, from violating provisions of Sections
18         15(a)(2) and 15(a)(5) of the Fair Labor Standards Act of 1938, as amended
19         (“FLSA”), 29 U.S.C. §§ 215(a)(2) and 215(a)(5), and to recover amounts
20         owed under the FLSA to employees of Defendants, who, at a minimum, in-
21         clude the individuals as listed by name in the attached Exhibit A.
22      2. This Court has subject matter jurisdiction under Section 17 of the FLSA,
23         29 U.S.C. § 217; this Court also has subject matter jurisdiction under 28
24         U.S.C. § 1331 (federal question) and § 1345 (United States as Plaintiff).
25      3. Venue is proper because the actions giving rise to this Complaint took
26         place throughout Arizona.
27
28                 DEFENDANTS ARE EMPLOYERS UNDER THE FLSA

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 1     4. Defendant Arizona Logistics, Inc., also known as DSI Arizona, Inc., and
 2        doing business as Diligent Delivery Systems (“Diligent Delivery”) is, and
 3        at all relevant times has been, an Arizona corporation, and is the local divi-
 4        sion of an umbrella group known as Diligent Delivery Systems, a self-
 5        described nationwide transportation and logistics service provider serving
 6        approximately 68 locations nationwide, including cities in California, Tex-
 7        as, Michigan, New York, and others. Diligent Delivery maintains its cor-
 8        porate headquarters at 333 N. Sam Houston Parkway, East, Suite 1000,
 9        Houston, Texas, 77060, with a domestic office located at 3800 N. Central
10        Ave., Suite 460, Phoenix, Arizona, 85012, within the jurisdiction of this
11        Court. Diligent Delivery also conducts business, including hiring and su-
12        pervising employees, at Defendant Parts Authority’s warehouses and other
13        customer locations throughout Arizona, including a warehouse located at
14        2215 W. Fillmore Street, Phoenix, Arizona, 85009, also within the jurisdic-
15        tion of this Court.
16     5. Defendant Parts Authority Arizona, LLC (“Parts Authority”), is, and at all
17        relevant times, has been, an Arizona limited liability company with an of-
18        fice and place of business located at 2550 N. Scottsdale Road, Tempe, Ari-
19        zona, 85281, and with several other locations in Phoenix, Mesa, Surprise,
20        and Peoria, each within the jurisdiction of this Court. Parts Authority de-
21        scribes itself as one of the largest distributors of automotive and truck parts
22        in the country.
23     6. In order to complete its delivery services, Diligent Delivery uses drivers as
24        an integral part of its business operations (“Driver Employees”).
25     7. From at least April 2012 to the present, Diligent Delivery has required
26        Driver Employees to sign “owner operator agreements” and other docu-
27        ments purporting to classify Driver Employees as “independent contrac-
28        tors” of Diligent Delivery.

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 1        8. From at least April 2012 to the present, Defendant Parts Authority has en-
 2           tered into agreements with Diligent Delivery to have Driver Employees de-
 3           liver Parts Authority’s automotive and truck parts to customers, such as au-
 4           tomotive dealerships and repair shops, throughout Arizona. 1 Upon infor-
 5           mation and belief, Diligent Delivery has also entered into agreements with
 6           other companies to perform similar delivery services using the Driver Em-
 7           ployees.
 8        9. As a condition of employment, Diligent Delivery requires Driver Employ-
 9           ees to contact Diligent Delivery supervisors each morning to confirm their
10           shift.
11        10. Driver Employees begin their work shift at a warehouse, such as one hous-
12           ing Defendant Parts Authority’s products, to receive delivery assignments
13           and parcels to be delivered that day. Driver Employees then start their des-
14           ignated delivery route, returning to the warehouse numerous times per day
15           to receive additional parcels for delivery. Driver Employees are in contact
16           with both Diligent Delivery supervisors and warehouse dispatchers
17           throughout the day to take directives and receive guidance should delivery
18           or scheduling issues arise.
19        11. As a condition of employment, Diligent Delivery designates a monthly pay
20           rate for Driver Employees regardless of hours worked. Driver Employees
21           are paid by Diligent Delivery headquarters in Houston, Texas, based off of
22           delivery invoices maintained by Parts Authority and other clients who use
23           Diligent Delivery services.
24        12. As a condition of employment, Diligent Delivery requires Driver Employ-
25
26
     1
27     Upon information and belief, Parts Authority separately employs its own driv-
     ers, who are classified as Parts Authority employees. These drivers are not pres-
28   ently included in the instant action.

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 1        ees to incur costs including, but not limited to: maintaining insurance on
 2        personal vehicles which are used to complete deliveries for Diligent Deliv-
 3        ery; paying for fuel spent to complete these deliveries; paying for multiple
 4        Diligent Delivery uniforms; and incurring a daily “administrative fee” pay-
 5        able to Diligent Delivery.
 6     13. Defendants, acting as agents for one another, performed all aspects and du-
 7        ties of employment. Defendants, individually and jointly, serving as agents
 8        for one another, controlled the material aspects of the employment relation-
 9        ship with Driver Employees including: hiring, firing, setting work sched-
10        ules, assigning work, assigning Driver Employees to work locations, and
11        preparing and maintaining pay records.
12     14. Defendants designed and maintained an employment structure with each
13        entity serving the interests of and/or acting as an agent for the other.
14        Through their actions, Defendants actively sought to confuse Driver Em-
15        ployees and conceal from them the basic facts concerning their status and
16        rights as employees, including the protections guaranteed by the FLSA.
17     15. By misclassifying Driver Employees as independent contractors, Defend-
18        ants shifted their costs as employers onto the Driver Employees. The re-
19        sulting costs – of the employer’s share of Social Security contributions,
20        workers’ compensation insurance, uniforms, fuel, among others – consti-
21        tute illegal deductions from the Driver Employees’ wages.
22     16. Through these actions, Defendants were depriving, interfering, and imped-
23        ing the ability of the Driver Employees, and derivatively, of the Secretary
24        of Labor, to detect the basic circumstances of their employment, and dis-
25        couraging, punishing, and coercing them from exercising their rights as
26        employees under the FLSA.
27     17. The economic realities of the employment relationship between Driver
28        Employees and Defendants establish that each Defendant is an “employer”

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 1        within the meaning of FLSA Section 3(d), 29 U.S.C. 203(d), and together
 2        served as a team of co-employers. As such, Defendants are liable for all
 3        back wages due to the Driver Employees for the relevant time period of at
 4        least April 2012 to the present.
 5
 6         DEFENDANTS’ EMPLOYEES ARE ENTITLED TO THE WAGES
 7                      AND PROTECTIONS OF THE FLSA
 8     18. Defendants’ activities constitute and at all relevant times have constituted
 9        related activities performed through unified operation or common control
10        for a common business purpose, and are and at all relevant times have been
11        an “enterprise” as defined in FLSA § 3(r), 29 U.S.C. § 203(r).
12     19. Driver Employees were or are engaged in commerce and/or in handling or
13        working on goods that had been moved in commerce, as they regularly
14        handle goods that had or have been shipped from places outside of the state
15        of Arizona. Defendants’ enterprise has, and at all relevant times has had,
16        an annual gross volume of sales made or business done of no less than
17        $500,000.00, and said enterprise constitutes, and at all relevant times has
18        constituted, an “enterprise engaged in commerce or in the production of
19        goods for commerce” as defined by FLSA § 3(s), 29 U.S.C. § 203(s). As
20        such, Driver Employees are covered by the FLSA, including its wage,
21        recordkeeping, and anti-discrimination provisions.
22
23                        DEFENDANTS VIOLATED THE FLSA
24     20. Defendants have willfully and repeatedly violated the provisions of Sec-
25        tions 6 and 15(a)(2) of the FLSA, 29 U.S.C. § 206 and § 215(a)(2), when
26        the illegal deductions made from the wages of Driver Employees for the
27        employers’ share of Social Security contributions and other costs reduced
28        Driver Employees’ hourly rate below the federal minimum wage of $7.25

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 1        per hour.
 2     21. Defendants have willfully and repeatedly violated the provisions of Sec-
 3        tions 7 and 15(a)(2) of the FLSA, 29 U.S.C. § 207 and § 215(a)(2), because
 4        they failed to pay the Driver Employees at a rate of time and one half the
 5        employees’ regular rate for hours worked over 40 in a workweek. Driver
 6        Employees routinely worked over 40 hours per week, were paid a flat rate,
 7        and were not paid an overtime premium for excess hours worked over 40 in
 8        a workweek.
 9     22. Defendants have willfully and repeatedly violated the provisions of Sec-
10        tions 11(c) and 15(a)(5) of the FLSA, 29 U.S.C. § 211(c) and § 215(a)(5),
11        by failing to maintain, keep, and preserve records of employees and of the
12        wages, hours, and other conditions and practices of employment main-
13        tained, as prescribed by the regulations promulgated by the Secretary pur-
14        suant to the authority granted in the FLSA and published in the Federal
15        Register and known as Title 29, Code of Federal Regulations, Part 516.
16        Defendants misclassified Driver Employees as independent contractors and
17        failed to keep time records that would show adequately and accurately,
18        among other things, the hours worked by Driver Employees each workday,
19        the total hours worked each workweek, the deductions from their wages for
20        the employers’ costs and the amount paid, thereby depriving, interfering
21        and impeding the ability of Driver Employees, and derivatively, of the Sec-
22        retary of Labor, to detect, identify and have notice of the underpayment of
23        minimum and overtime wages due under the FLSA.
24     23. Defendants have willfully and repeatedly violated the provisions of Sec-
25        tion 15(a)(3) of the FLSA, 29 U.S.C. § 215(a)(3), by depriving, interfering
26        and impeding the ability of Driver Employees, and derivatively, of the Sec-
27        retary of Labor, to detect the basic circumstances of their employment and
28        of their rights as employees under the FLSA, including the right to notify

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 1         the Secretary of Labor of FLSA violations.
 2      24. By the actions described above, Defendants have repeatedly and willfully
 3         violated, and are violating, the above-described provisions of the FLSA
 4         during the relevant statutory period.
 5
 6         WHEREFORE, cause having been shown, the Secretary prays for a judg-
 7   ment against Defendants as follows:
 8               A.     (i) For an Order pursuant to Section 17 of the FLSA, 29
 9         U.S.C. § 217, permanently enjoining and restraining Defendants, their of-
10         ficers, agents, servants, and employees, and those persons in active concert
11         or participation with them, from prospectively violating the provisions of
12         Sections 15(a)(2), 15(a)(3), and 15(a)(5) of the FLSA, 29 U.S.C. §§
13         215(a)(2), 215(a)(3), and 215(a)(5); and
14               B.     For an Order
15               (i) pursuant to FLSA § 16(c), 29 U.S.C. § 216(c), finding Defendants
16         liable for any unpaid minimum wage and overtime compensation during
17         the relevant time period that may be found by the Court to be due under the
18         FLSA, plus an additional amount as and for liquidated damages, equal to
19         any back wages found to have accrued under the FLSA, to present and
20         former employees of Defendants, including, at a minimum, the persons
21         listed by name on the attached Exhibit A; or
22               (ii) in any instances where liquidated damages are not awarded here-
23         in, restraining, pursuant to FLSA § 17, 29 U.S.C. § 217, Defendants, their
24         officers, agents, servants and employees and all persons in active concert or
25         participation with them, from continuing to withhold the payment of any
26         unpaid minimum wage and overtime compensation that may be found by
27         this Court to have accrued under the FLSA to present and former employ-
28         ees of Defendants, including, at a minimum, the persons listed by name on

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 1        the attached Exhibit A, plus pre-judgment interest thereon; and,
 2              D. Awarding the Secretary of Labor the costs of this action; and,
 3              E. Providing such further legal and equitable relief as may be
 4        deemed appropriate, including equitable tolling of the applicable three-year
 5        statute of limitations to redress interference with, or delayed detection of,
 6        the violations of the FLSA by the Secretary due to Defendants’ actions to
 7        confuse their workers as to their status as employees protected by the
 8        FLSA and/or to intimidate or coerce them from exercising their rights and
 9        status as an employee, and failure to maintain complete, accurate or full
10        records as required by 29 U.S.C. §§ 211(c) and 215(a)(5) of the FLSA.
11
12                                                Respectfully submitted,
13
14   Dated: December 21, 2016                     M. PATRICIA SMITH
                                                  Solicitor of Labor
15
16                                                JANET M. HEROLD
                                                  Regional Solicitor
17
18                                                SUSAN SELETSKY
19                                                FLSA Counsel

20                                                __/s/ Grace A. Kim_____________
21                                                GRACE A. KIM
                                                  Trial Attorney
22                                                Attorneys for the Plaintiff
23                                                U.S. Department of Labor
24
25
26
27
28

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 1                                     EXHIBIT A
 2
 3        NUMBER      FIRST NAME       MIDDLE NAME       LAST NAME        SUFFIX

 4              1   OMID                             ABDOULI
                2   AZAT                             ABDULAMEER
 5              3   JASON          ALBERTO           ABRIL
 6              4   DANNY          BRIAN             ACHENBACH
                5   JESUS          FRANCISCO         ACOSTA
 7              6   EDMUNDO        V                 ACOSTA
 8              7   FOREST         RYAN              ACUFF
                8   NORBERT        MAR               ACUNA
 9
                9   MARQU'IS                         ADAM
10             10   DEBORAH        LOUISE            ADAMS
               11   MARQU'IS       TRAYON            ADAMS
11
               12   DAVID          CHRISTOPHER       AGUILAR
12             13   ROBERTO        E                 AHUMADA
               14   ROBERTO                          AHUMADA
13
               15   MUHAMMAD       ATHAR             AKHTAR
14             16   DANIEL                           ALAMILLA
               17   RICHARD                          ALDRICH
15
               18   LEANDRO                          ALITAGTAG
16             19   ZAKONYA        A                 ALLEN

17             20   DAVID          GERALD            ALLEN
               21   FREDERICK      L                 ALLEN
18             22   MARVIN         R                 ALLEN

19             23   RAQUEL         RAMOS             ALONSO               II
               24   ALEX                             ALTAMIRANO
20             25   EVELIA                           ALTERES MIRANDA
21             26   RUBICELIA                        ALTERES MIRANDA
               27   ROBERTO        MIGUEL            ALVARADO JR
22             28   JULIO          CESAR             ALVAREZ ROBLES
23             29   HAIDER                           AL-WAHABI
               30   LUIS           MIGUEL            AMAYA
24
               31   JUAN           LUIS              AMAYA-OCHOA
25             32   ANTHONY        JOE               ANAYA JR
               33   BRANDON        TERRELL           ANDERSON
26
               34   JESUS          A                 ANDRADE BERNAL
27             35   LESTER         LEO               ANDREWS
               36   LEO            SYLVESTER         ANDREWS
28

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               37   WILLIAM       MANUEL           ANGUIZ
 1
               38   SEAR                           AQUANETTA
 2             39   JOSHUA        MALLIDA          ARAMBULA

 3             40   DAVID         LAWRENCE         ARANDA
               41   LEO           S                ARCHULETA
 4             42   LISHELLE      MARIE            ARELLANO

 5             43   ANDY                           ARLISON
               44   JAVIER        SOTO             ARMIJO
 6             45   HOLLY         LYNN             ARNOLD
 7             46   ROY           LUIS             AROS
               47   MARIBEL                        ARROYO
 8             48   ANN           L                ARTISHON
 9             49   BRENTEN       AUGUSTUS         ASHLEY
               50   LAUREN        ELISA            ASHLEY
10             51   RICHARD                        ATCHLEY
11             52   DEREK         B                AULTMAN
               53   ROBERT        EDWARD           AVEY
12
               54   NOLBERTO                       AVILA
13             55   JOSE                           AVILA                JR
               56   OSCAR         MARIO            AYALY
14
               57   MICHAEL       CHRISTIAN        AYCOCK
15             58   TRAVION                        AYERS
               59   JOHN          F                BACHAR
16
               60   RASHEED                        BADEER
17             61   CAROL         BARBARA          BAILEY-GARCIA
               62   JOHN          CHARLES          BAKER
18
               63   BRANDIE       LYNN             BARACANI
19             64   DANIEL        EDWARD           BARANOWICZ

20             65   ROBERT        ALLEN            BARBER
               66   PHILIP        AARON            BARCLAY              II
21             67   MICHAEL       JOSEPH           BARNES

22             68   BRANDON       T                BARNES
               69   JESUS         ANTONIO-ZARATE   BARRAZA
23             70   CLAUDIA       IVETTE           BARRAZA
24             71   LUIS          C                BARRERA
               72   MARCO         A                BARRIOS
25             73   JULIO         CESAR            BARRON RODRIGUEZ
26             74   LARRY         JOSEPH           BARTHELETTE
               75   SHIRLEY                        BASHAM
27
               76   CHEDID                         BASHIR
28             77   JAMIE         M                BASS



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                78   LUIS         WALTER        BATEMAN
 1
                79   MICHAEL      ANTHONY       BATTLE
 2              80   ROBERT       RICHARD       BAUGHMAN

 3              81   RICHARD      D.            BAXTER
                82   ANDREW       FERNANDO      BAZAN
 4              83   MORGAN       S             BEATTY

 5              84   SANDRA       NOHEMI        BECERRA
                85   JASON                      BEGAY
 6              86   MANUEL       RAYMON        BELLO
 7              87   HARVEY       HERBEY        BEN
                88   RUSSELL      W             BENFIELD
 8              89   ANDREA       LEIGH         BENGE
 9              90   MOSELEY      SR            BENJAMIN
                91   LUIS         FERNANDO      BERNAL
10              92   MELISSA                    BETANCOURT           JR
11              93   ERIC         MICHAEL       BEVERLY
                94   DALTON       CHARLES       BISEL VENEGAS
12
                95   BRIAN        ALAN          BISHOP
13              96   ROY          CLAYTON       BISHOP
                97   DALE         WENDELL       BLAKE
14
                98   BRYAN        DAVID         BLUDER
15              99   JASON                      BLUE,
               100   CID          F             BOBADILLA
16
               101   QUINN        TREMAYNE      BOGAN
17             102   MARIE        KIVA          BOGAN
               103   JOSEPH       L             BOGGS
18
               104   MICHAEL      WILLIAM       BOHLS
19             105   DANIEL       L             BOJORQUEZ

20             106   ISAAC                      BONILLA              JR
               107   XAVIER       SHANTRELLE    BONNER
21             108   RAMON                      BOOTH

22             109   COREY        CRAIG         BORKOWSKI
               110   JAMES        DANIEL        BOWEN
23             111   JAMES        DENNIS        BOWER                SR
24             112   JOHN         REECE         BOWMAN
               113   KEYANA       BRINIQUE      BOX
25             114   JERRY        LEE           BRAGGS
26             115   DENNY        EDWARD        BRANDON              SR
               116   MICHAEL      PAUL          BRANDT
27
               117   DESPOT                     BRANISLAV
28             118   PANTALEON    RAMOS         BRAVO



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               119   PHILLIP                    BRAVO
 1
               120   ANDREW       NICHOLAS      BRIGGS
 2             121   JOURNEY      VKYE          BRIGHAM

 3             122   JONATHAN     EUGENE        BROOKS
               123   RUSSELL      WARREN        BROOKS
 4             124   JONATHAN                   BROOKS

 5             125   DAVID        LEONARD       BROUDY
               126   SERGIO       DELOVE        BROWN
 6             127   LARRY        EVERETT       BROWN
 7             128   JAMES        KEITH         BROWN
               129   CRYSTAL                    BROWN
 8             130   BRIAN        D             BUCKENDORF
 9             131   RICHARD      MARTIN        BUNDRICK
               132   MATTHEW      PHILLIP       BURCH
10             133   CONRAD                     BURLESON
11             134   EARL         BRIEN         BURNETT
               135   LAMAR        JAMES         BURNLEY
12
               136   PATRICIA     ANN           BURNS
13             137   STEPHEN      O'BRIAN       BURTON
               138   JUSTIN       TYLER         BUSSELL
14
               139   DERRICK      DEMETRIOUS    BUTLER
15             140   KALIGITO     FELIX         BUTROS
               141   CLINTON      DARNELL       BUYCKS
16
               142   KENNETH      N             BYINGTON
17             143   LARRY        WAYNE         BYRD
               144   THOMAS       A             CADDEN
18
               145   AMANDA       JENE          CAGGIANO
19             146   TONY         PATRICK       CALISTRO LEON

20             147   DUWAN        JAMAR         CALVIN
               148   DANA         LOUIS         CALVIN
21             149   JUAN         MANUEL        CAMBA                JR

22             150   LEE          BEVEN         CANNON
               151   JOHN         PETER         CANZONETTA
23             152   ALAN         HUMBERTO      CARDENAS RAMIREZ
24             153   JASON                      CARDENAS
               154   WILLIAM      TERRENCE      CARLTON
25             155   WILLIAM                    CARLTON
26             156   CINTHIA      DEL           CARMEN
               157   ARMANDO      V             CARMONA
27
               158   STEVE        ALAN          CARPENTER
28             159   MICHAEL                    CARRILO GUZMAN



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               160   JULIE         MARIE        CARTER
 1
               161   JUAN          ROBERTO      CASAREZ
 2             162   JUAN                       CASAREZ

 3             163   JOSE          LUIS         CASTRO
               164   MOISES        MARTIN       CASTRO
 4             165   ANTONIO       TORRES       CASTRO             JR

 5             166   HECTOR        M.           CAVAZOS
               167   AARON         T            CAYTON CHIRINOS
 6             168   ERLICH        DELAIN       CAZARES
 7             169   ESTEBAN       HUMBERTO     CAZARES
               170   YESENIA                    CAZARES
 8             171   GRACIELA      DIARTE       CEBALLOS
 9             172   CURTIS        LEE          CEPHUS
               173   HECTOR        HUGO         CERVANTES
10             174   MIGUEL        OSWALDO      CERVANTES
11             175   ANTWAIN       M            CHAMBERS
               176   AXEL          A            CHAVEZ
12
               177   EMILIANO      JOAQUIN      CHAVEZ CALDERON
13             178   JOHNNY        R            CHAVEZ
               179   BASHIR        P            CHEDID
14
               180   MOISES                     CHIRINOS
15             181   HALINA        C            CLARK
               182   HALINA                     CLARK
16
               183   RICK          ALLEN        CLAUSEN
17             184   THOMAS        FRANCIS      CLEARY
               185   THOMAS        D            CLIFFORD
18
               186   TERRY                      CLIMONS
19             187   JOHN                       CLYDE

20             188   GLENN         STEVEN       COLBERT
               189   CHRISTOPHER   TAYLOR       COLE
21             190   DAEVON        LAMONT       COLES

22             191   ELIEZER       RODRIGUEZ    COLLAZO            JR
               192   BRIAN         DAVID        COLLINS
23             193   XAVIER        MINJAREZ     CONEJO
24             194   MARCUS                     CONSTANTIN
               195   MAUD          AURORA       CONTRERAS
25             196   LUCIANO       CHANO        CONTRERAS
26             197   RICHARD       JUNIOR       CONTRERAS
               198   JEANETTE      LEE          CONTRERAS
27
               199   DEAN          OSCAR        CONTRERAS
28             200   DELANO        GOLDIE       COOK



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               201   LISA          MARIE        COOKE
 1
               202   JAMES         FREDERICK    COPELAND
 2             203   MARGARET      KRISTINE     COPUS

 3             204   STEVEN        D            CORNELL
               205   JOEL                       CORONA
 4             206   JOHN          ADAM         CORONADO

 5             207   JUAN          ANTONIO      CORONADO
               208   RAYMOND       JESUS        CORONADO
 6             209   GABRIEL       ANTONIO      CORRAL
 7             210   ROBERTO       A            CORRALES
               211   RICARDO       LAPRADA      CORRALES
 8             212   CARLOS        ALFREDO      COSTA
 9             213   WAYNE         MICHAEL      COTTON FLORES
               214   MICHAEL       ANTHONY      COX
10             215   TYLER         GAGE         CRAMER
11             216   JOHN          PAUL         CRANDELL
               217   COLTON        PHILLIP      CREELMAN ULMER
12
               218   JORGE         ANTONIO      CRESPO
13             219   JANICE        LYNN         CROMER
               220   CAMERON       JAMES        CROWLEY
14
               221   RICHARD                    CRUISE
15             222   LUIS          ALBERTO      CUERVO
               223   JADRIAN       DONTAE       CUMMINGS
16
               224   MICHAEL       EDWARD       CUNNINGHAM
17             225   CHRISTIAN     FINCH        CUTLIP
               226   ANEL                       CUTUK
18
               227   ELIZABETH                  DANIELS
19             228   SALMAN        D            DAOUD

20             229   GIBSON        YAW          DARKO
               230   GIBSON                     DARKO
21             231   SHEREE        IKAPELIA     DASILVA

22             232   JIMMY         WAYNE        DAVENPORT
               233   DON           CLAY         DAVIDSON
23             234   CARL          DUANE        DAVIS
24             235   CHRISTOPHER   MICHAEL      DAVIS
               236   JEVON         RAY          DAVIS                JR
25             237   DANIEL                     DAVIS
26             238   INEASHA       L            DAY
               239   CAIN          PENA         DE
27
               240   JOSE                       DE JESUS
28             241   GABRIEL                    DE LA CRUZ



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               242   ERNEST       A.            DEL
 1                                              DEL TORO
               243   MIGUEL       ANGEL         CONTRERAS
 2
               244   LETICIA                    DELEON,
 3             245   OSCAR        RAMIREZ       DELGADO PRETE
               246   JAMEL                      DENNIS
 4
               247   DUSTIN                     DERICHS
 5             248   MARQUIS      BILLY         DESHAUN
               249   ALLEN        LEKESTON      DEWAUN
 6
               250   KALIFA       CAIRO         DIAZ
 7             251   EDUARDO      E             DIAZ

 8             252   JUSTO        GAMALIEL      DIAZ CONWAY
               253   GERMAN       MAURICIO      DIAZ CABRERA
 9             254   WESTLEY      JAMES         DICKINSON

10             255   SHELDON      DANDRE        DINSMORE
               256   SCOTT        M             DIVINE SALCEDO
11             257   DAWN         MARIE         DOMINE
12             258   ALBERTO      RAMIREZ       DOMINGUEZ
               259   SANDRA       RODRIGUEZ     DOMINGUEZ
13             260   LEWIS        WILLIAM       DRASH
14             261   SUMMER       LEE           DUNN
               262   JAMAL        RAY           DUNN
15
               263   XAVIER       DANIEL        EDWARDS
16             264   NICOLE       CAMILLE       EISMANN-CRUMP
               265   DARRIS       SEAN          EL LEONARDO BYRD
17
               266   ANDREW       THOMAS        ELIZALDA
18             267   SEAN         DUANE         EMBURY
               268   RYNE         EDWARD        ENCARNACION
19
               269   FRANCISCO    A             ESCALANTE
20             270   JOHN                       ESCANDON
               271   JOSE         ANGEL         ESCOBAR
21
               272   MIGUEL       ANGEL         ESCOBAR
22             273   BILLY        M             ESCOBAR LUCERO

23             274   FERNANDO                   ESCOBAR               JR
               275   ARNOLD       JUAREZ        ESLAVA
24             276   VANESSA                    ESPARZA

25             277   GERARDO      GARCIA        ESPERO
               278   GUILLERMO    RAMIREZ       ESPINDOLA
26             279   MARK         ANTHONY       ESPINOZA
27             280   LEONEL                     ESPINOZA
               281   ROBERT                     ESPINOZA
28

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               282   JOE           ANTHONY      ESTAVILLO
 1
               283   MARTIN                     ESTAVILLO
 2             284   RICHARD       ANTHONY      ESTRADA

 3             285   KEVIN         LEE          EVANS
               286   JESSIKA       TIKI         EVANS
 4             287   REX           EMMANUELLE   FAULKNER

 5             288   MICHAEL       ANGEL        FAVELA
               289   JAMES         SALVATORE    FEDERICO
 6             290   RONALD        DAVID        FELIX
 7             291   TYLER         BLAKE        FELTON
               292   GARRY         ANTWANN      FIELDS
 8             293   MIKE          A            FIERRO
 9             294   RICHARD       A            FIGUEROA
               295   RAQUEL                     FIGUEROA
10             296   LEONEL                     FIGUEROA
11             297   ANGEL         GERARDO      FILIPPINI
               298   MARC          EDMOND       FINCH
12
               299   ALAN          W            FINCH
13             300   MATEO         DANNY        FITIVALE
               301   GIRALDO       MARERO       FLEITES           JR
14
               302   GREGORY       D            FLETCHER
15             303   CHRISTOPHER   L            FLOOD
               304   GERARDO       SIERRA       FLORES
16
               305   JOSE                       FLORES
17             306   RAYLYN        JENEAN       FLOWER
               307   JOSEPH        JAMES        FOBIA
18
               308   SHAUN         M            FOLDEN
19             309   DANIELLE      MARIE        FORBIS

20             310   DANIELLE                   FORBIS
               311   DEAN          KURT         FORCINE
21             312   VINCENT       ISAAC        FORD

22             313   RAMONA        FAYE         FORE
               314   DAVID         KENNETH      FOSSDAL
23             315   ADAM          J            FOSTER
24             316   CLAUDE        PATRICK      FOSTER
               317   ASHLEY        LEIGH        FOWLER
25             318   DELANO        RICARDO      FOWLKES
26             319   DAVID         ALONSO       FRAGOSO
               320   DEVIN                      FRANCIS
27
               321   KEVIN         MICHAEL      FRANKLIN
28             322   ARTHUR        BRIAN        FREUND



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               323   JOEL         ROSS          FRIGILLANA
 1
               324   STARR        MAIUU         FUIMAONO           JR
 2             325   LALITA       DEVONNE       FULSON

 3             326   HUBERT       G             FULTZ
               327   JEFFERY      ADAM          GABRIEL
 4             328   ADRIAN       GARCIA        GALAVIZ

 5             329   RICARDO      D             GALBISCO           JR
               330   EDDIE                      GALINDO
 6             331   MOISES       A             GAMEZ
 7             332   ROBYN        ELIZABETH     GAMINO
               333   VICTOR       M             GAMINO
 8             334   BRIDGET      MARYE         GANGE
 9             335   SANTIAGO     A             GARCIA
               336   NARCISO      A.            GARCIA
10             337   EDGAR                      GARCIA BARRERA
11             338   WALTER       H             GARCIA
               339   JUAN         J             GARCIA
12
               340   EDGAR        LEDEZMA       GARCIA
13             341   MAXIMINA     PENA          GARCIA
               342   JESUS        V             GARCIA
14
               343   RODOLFO                    GARCIA
15             344   JOSE         GABRIEL       GARCIA-MINJAREZ
               345   NATHANIEL    XAVIER        GARCIA-RODRIQUEZ
16
               346   DAVID        LAWRENCE      GARDNER
17             347   NORMA        GREGORIA      GARZA
               348   KYLE         JUSTIN        GEISLER
18
               349   THEODORE     W             GELINAS
19             350   DIAZ         CABRERA       GERMAN

20             351   RYAN         ADAM          GIBSON
               352   DANIEL       CALVIN        GIES
21             353   ADIE         MERLIN        GIESE

22             354   FRANCISCO    RENE          GIL
               355   RODRIGUEZ    MARTINEZ      GLORIA             JR
23             356   CORBIN       ANDREW        GLOVER
24             357   RAFAEL                     GODINEZ
               358   HECTOR                     GODINEZ
25             359   RANDALL      E             GOHN
26             360   JONATHON     RAY           GOIN
               361   CARLANDO     MARLON        GOLDING
27
               362   RICHARD      ARTHUR        GOMEZ
28             363   ALEX         XAVIER        GOMEZ



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               364   JOSE          M            GONZALES
 1
               365   ROBERT        MATUZ        GONZALES
 2             366   LAWRENCE                   GONZALES

 3             367   ANDRES        AMARO        GONZALEZ          III
               368   MARIA         E            GONZALEZ
 4             369   HIRAM         GARCIA       GONZALEZ          JR

 5             370   FRANCISCO     J            GONZALEZ
               371   SERGIO        M            GONZALEZ
 6             372   ROLANDO                    GONZALEZ
 7             373   DANIEL                     GONZALEZ
               374   FERNANDO                   GONZALEZ
 8             375   SERGIO        CURIEL       GONZALEZ
 9             376   MARIA                      GONZALEZ
               377   MICHAEL       LEON         GOODLOE
10             378   ELEANOR       JUDITH       GORMAN
11             379   DAVID         JOHN         GRAHAM
               380   CATHY         ANN          GRAHL
12
               381   ROBERT        LEE          GRAHL
13             382   JOSEPH        JOHN         GRANT
               383   ROBERT        G            GRAVES
14
               384   SARAH         J            GREEN
15             385   TERESA        A            GRIFFIS
                                                GRIJALVA
16             386   JOSE          EDUARDO      NAVARRETE
               387   JACOB         JAMES        GRUBE
17
               388   CRAIG         ALAN         GRUND
18             389   JOHN          DAVID        GRUZA
               390   DOMINGUEZ                  GUADALUPE
19
               391   GREGORY       DAVID        GUANELL
20             392   CHRISTOPHER                GUDGEON
               393   JOHN                       GUDGEON
21
               394   MARIO         ANDRES       GUERRERO
22             395   ABRAM         JUAREZ       GUERRERO

23             396   SONIA                      GUERRERO
               397   JORGE         ALBERTO      GUILLEN
24             398   JOE           CARLOS       GURROLA

25             399   DANIEL                     GUTIARREZ
               400   MARCO         ANTONIO      GUTIERREZ
26             401   YOLANDA                    GUTIERREZ
27             402   MARCO                      GUTIERREZ
               403   MARIA         JESUS        GUZMAN
28

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               404   SERVANDO                   GUZMAN
 1
               405   ELISABETH    ANN           HAACK
 2             406   CYNTHIA      KAREN         HAACK

 3             407   BRIAN        ARTHUR        HACKER
               408   BETH         ANN           HALL
 4             409   PHILLIP      JAMES         HARER

 5             410   BRITTANY     JA'NICE       HARLIN
               411   ARNOLD       R             HARLIN
 6             412   JOANN        E             HARPER
 7             413   JOHNATHAN    D             HARRIS
               414   ANTONIO      RICO          HARRIS
 8             415   JOHNATHAN                  HARRIS,
 9             416   WILLIAM      LEO           HARRISON
               417   MICHAEL      LOVIEL        HATCHER
10             418   MICHAEL      ROY           HATLEY
11             419   STEPHEN      MCMAHON       HAY
               420   MICHAEL      T             HAYNES
12
               421   ANTHONY      V             HAYNES
13             422   DENNIS       HERBERT       HEATH
               423   THOMAS       SLOAN         HEDRICK            II
14
               424   KENTON       FRED          HEIDBRINK
15             425   DAVID        FRANK         HEINRICH
               426   VICTOR       EARLS         HEINZELMAN
16
               427   EUGENE       M             HELTON
17             428   JOHN         ROBERT        HENDERSON          JR
               429   RUBEN        ANOULO        HERMOSILLO         JR
18
               430   PATRICIA     NORMA         HERMOSILLO
19             431   ALFREDO      FAVELA        HERNANDEZ

20             432   VINCENT      MICHAEL       HERNANDEZ
               433   MARILUZ      NIEVES        HERNANDEZ
21             434   PONCIANO                   HERNANDEZ          II

22             435   ANDREW       CASTRO        HERRERA
               436   CARLOS       MACIAS        HERRERA CARVAJAL
23             437   DEREK        RANDALL       HIGHT
24             438   PATRICK      R             HILL
               439   SCOTT                      HILL
25             440   REBECCA      NAN           HILTS
26             441   CHARLENE                   HINES
               442   JASON        A             HINES
27
               443   CHARLENE                   HINES
28             444   TYRONE       LIONEL        HOCKETT



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               445   KELLER       GRANT         HOGAN
 1
               446   MARCEL       DUJUAN        HOLDEN
 2             447   DAJONAE      M             HOLDEN

 3             448   ARMANDO                    HOLGUIN
               449   ROSCO        RICCO         HOLIFIELD
 4             450   ROSCOE                     HOLIFIELD

 5             451   JAMES        WILLIAM       HOLLAND
               452   JACQUELINE   BRIGET        HOLTON
 6             453   SHALISSE     M.            HOOKS
 7             454   DANDRE       A             HOOKS-CZAPANSKY
               455   KATRINA      GAYLE         HOPKINS
 8             456   MARK         D             HORNBERGER
 9             457   KIMBERLY     TYLER         HORNSBY           III
               458   BRYAN        THOMAS        HORTON
10             459   CODY         MATTHEW       HOUGH
11             460   BRIAN        JERALD        HOWARD
               461   DELOSE                     HOWARD
12
               462   BRANDON      J             HOWER
13             463   ALEJANDRO                  HUERTA            JR
               464   JOHNNY                     HUIZAR
14
               465   JONATHAN     D             HULETT
15             466   NICHOLAS     ADAM          HULL
               467   PAUL         HOWARD        HULSANDER
16
               468   MICHAEL      THOMAS        HULSEBOS
17             469   KENNITH      COLT          HUNT
               470   RICHARD                    HUNT
18
               471   LEGIA                      HUNT              JR
19             472   ANIKKA       MARIE         HUNTER

20             473   EDITH        A             HURTADO
               474   ANTHONY      EDWARD        HYLTON
21             475   STEPHANIE    ROSE          IMAN

22             476   MARISSA                    INTHAREATH
               477   HOSAM        HUSEIN        JABBAR
23             478   JOHNSON      JR.           JACK
24             479   SHELDON      MCKINLEY      JACK
               480   MICHAEL      EARL          JACKSON
25             481   HOLLAND      JR,           JAMES
26             482   ADAM         LEE           JAMES
               483   BELDON       S             JAMES
27
               484   DANIEL                     JAMES
28             485   TARA         BRYANAMARIE   JAMSGARO



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               486   BRIAN        WILLIAM       JANSEN
 1
               487   TIMOTHY      MITCHELL      JANSSEN              JR
 2             488   EDWARD       EUGENE        JEFFERSON

 3             489   HENRY        JARVIS        JEFFERSON
               490   JEREMY       JUSTIN        JEFFERSON
 4             491   CHARLES      J             JENKINS

 5             492   PAUL         NAJERA        JIMENEZ
               493   MIKE         NAJERA        JIMENEZ
 6             494   AWTAJUANA    DANIELLE      JOHNSON
 7             495   JACK         JAMES         JOHNSON
               496   LAURA        JANE          JOHNSON              III
 8             497   GARY         RAY           JOHNSON LOPEZ
 9             498   ERIC         S             JOHNSON
               499   JARED        SAMUEL        JOHNSON
10             500   GARY         TYLER         JOHNSON
11             501   JOHN                       JOHNSON              JR
               502   AMOINE       A             JONES
12
               503   ANDREW                     JONES
13             504   MICHAEL      ANTHONY       JONES
               505   ROGER        DALE          JONES
14
               506   CYNTHIA      DIANE         JONES
15             507   KEAMONI      JALISE        JONES
               508   CAROL        JEAN          JONES
16
               509   GAREY        L             JONES
17             510   ANTHONY      PERNELL       JONES
               511   TIERRA       RAYNEECE      JONES
18
               512   ALBERT       WILLIAM       JONES
19             513   BRANDON      DEMOND        JORDAN

20             514   DONESH       DEEPAK        JOSHI
               515   JUAN                       JUAREZ
21             516   ALLAN        S             KAMPER

22             517   SOLOMON      BOBSON        KANYAKO
               518   SOLOMON      DODSON        KANYAKO
23             519   ELIAS        KHEDER        KASEM
24             520   FRANK        AUSTIN        KATZ
               521   BARBARA      JEAN          KEARNEY
25             522   BECKY        JANE          KEARNS
26             523   KEVIN        SCOTT         KELLY
               524   DONNA        JEAN          KENT
27
               525   JOSHUA       STEPHEN       KEPES
28             526   BARBARA                    KERNEY



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               527   JAROD        JEFFERSON     KIMERER
 1
               528   MARJORIE     A             KINCAID
 2             529   MARK         A             KING

 3             530   TROY         D             KING
               531   MARK                       KING
 4             532   JUNIOR       GREG          KINKEAD

 5             533   ADAM                       KIRSCH
               534   KEVIN        RICHARD       KNIGHT
 6             535   MAHLON       MOLENE        KOEPPEN
 7             536   JOSHUA       D             KOLLE
               537   ZACHARY      D             KONKOL
 8             538   ROBERT       T             KORNEGAY
 9             539   PATRICIA     LOUISE        KOSLOW
               540   KUDZO        JEREMIE       KPETIGO
10             541   JEREMY       TODD          KROPF
11             542   RAYNOLD                    KWABI
               543   IRINEO       DE            LA
12
               544   ERIC         DAVID         LADWIG
13             545   KENNETH      R             LAGA
               546   KENNETH                    LAGA,
14
               547   SHAUN                      LAMONTE
15             548   JOSHUA       ADAM          LAND
               549   MARTIN       NOEL          LARA
16
               550   NATHAN       JOHN          LARSON CRUZ
17             551   JOSEPH       J             LARUSSA
               552   EBONY        SAMONE        LATHAM
18
               553   KYLE         ANDERSON      LAWRENCE
19             554   JOSEPH       MICHAEL       LAWRENCE

20             555   DEREK        K             LAWSON
               556   LEONARD                    LAWSON,
21             557   GARY         GENE          LEABO

22             558   ANTHONY      PHILLIP       LEAL
               559   MAX          KRISTOPHER    LEE
23             560   ANDREW       SCOTT         LEE
24             561   JENNIFER     SUE-ANNE      LEE
               562   MARIA        CHRISTA       LEHEW
25             563   JOE                        LEJZEROWICZ
26             564   PAUL                       LEOHOPE
               565   DOMINIQUE                  LEON
27
               566   VAN          DOUGLASS      LEWIS
28             567   NANCY        JEAN          LEWIS



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               568   PEDRO         LUIS         LEYVA
 1
               569   SILAS         ISRAEL       LINDSEY
 2             570   CHRISTOPHER   O            LING

 3             571   STEVEN        JAMES        LITTLE
               572   RONALD        JOSEPH       LITTLE
 4             573   MARTIN                     LLAMAS

 5             574   ORLANDO                    LLAMAS
               575   MICHAEL       G            LOFTON
 6             576   NIKOLE                     LOGAN
 7             577   SCOTT         MICHAEL      LOPES
               578   ADELA         ARAMBULA     LOPEZ
 8             579   RODRIGO       FERNANDO     LOPEZ
 9             580   JOSE          FERNANDO     LOPEZ
               581   EDWARD        JOSE         LOPEZ
10             582   LEONARD       JOSEPH       LOPEZ
11             583   ESTELA        SANCHEZ      LOPEZ
               584   SAMUEL        URREA        LOPEZ
12
               585   CESAR                      LOPEZ
13             586   ADRIAN                     LOPEZ RODRIGUEZ
               587   CANDELARIA                 LOPEZ
14
               588   PABLO         ENRIQUE      LOPEZ GARCIA        JR
15             589   LEONARD                    LOPEZ
               590   SAMUEL                     LOPEZ
16
               591   ROSALAS       MARCO        LOUIE
17             592   DON                        LOVITT
               593   ERIC                       LOZANO
18
               594   ALBERT                     LUGO
19             595   ALBERT        ASTORGA      LUGO

20             596   PEDRO                      LUJANO
               597   MARTIN        ALEJANDRO    LUQUIN
21             598   EDUARDO       ROBLES       LUZANIA

22             599   MICHAEL       DEAN         LYMAN
               600   JESSTINE      MAE          MABIN
23             601   TRAVIS        BROOKS       MACKEY
24             602   DAVID         H            MACMILLAN
               603   ERIKA                      MADA
25             604   DANIEL        LEE          MAGUIRE ESTAVILLO
26             605   DANIEL                     MAGUIRE
               606   HADEEL        SAEED        MAJEED
27
               607   MONIQUE       E            MALDONADO
28             608   JOSEPH        DAVID        MANSFIELD



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               609   JAMES        NIEME          MANSOUR
 1
               610   ANGUIZ       JR,            MANUEL
 2             611   JOSEPH       PHILLIP        MANUEL

 3             612   HOLDEN                      MARCEL
               613   DOMINIQUE                   MARIE
 4             614   GERARDO                     MARQUEZ

 5             615   JUSTIN       KYLE           MARTIN
               616   TALIA        T              MARTIN
 6             617   JOAQUIN      ALBERTO        MARTINEZ
 7             618   DAVID        ANDREW         MARTINEZ
               619   ROCIO        GARCIA         MARTINEZ
 8             620   SERGIO       JOHN           MARTINEZ
 9             621   AMANDA       LEE            MARTINEZ
               622   DAFNE        M              MARTINEZ
10             623   ZACHARY      RAY            MARTINEZ
11             624   LUIS         STEVAN         MARTINEZ
               625   GUADALUPE                   MARTINEZ
12
               626   KEYLA                       MARTINEZ
13             627   ZACHARY                     MARTINEZ
               628   BEATRIZ                     MASHBURN
14
               629   DAUNTE       D              MASTERS PINEDA
15             630   LUIS         A              MATEOS
               631   LLOYD                       MATTOX
16
               632   BRANDON      DEAN           MAY
17             633   GARY         KEVIN          MAYBERRY
               634   CHAD         ROBERT         MCCAULLEY
18
               635   QUINN        WYLIE          MCCLAREN
19             636   JOSHUA       LEE            MCCLOSKEY

20             637   RANDY                       MCCRAY
               638   JAMES        EDWARD         MCCURDY
21             639   CHELSEA      ANNE           MCGARRY

22             640   GREGORY      LEE            MCGILL
               641   SARA         J              MCGLUMPHY
23             642   TRISHA       MARIE-LUFTER   MCGLUMPHY
24             643   GAVIN        LEIGH          MCGRANAHAN
               644   ROLAND       PAUL           MCINTIRE
25             645   RONALD       ROY            MCKENZIE
26             646   RANDY        L              MCKEY
               647   SHAN         JACOB          MCKINNISS
27
               648   JUAN         CARLOS         MEDINA
28             649   JOSE         L              MEDRANO-AVILA



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               650   NANCY        LUZ           MEJIA
 1
               651   ROSIE        MARIE         MELVIN
 2             652   MARIO        ALBERTO       MENDEZ

 3             653   DOUGLAS      FUENTES       MENDEZ
               654   GUADALUPE    RAMIREZ       MENDEZ
 4             655   FILIBERTO    PEREZ         MERAZ SANCHEZ

 5             656   ARMANDO                    MERCADO
               657   EDWARD       LEE           MERRIMAN
 6             658   MICHAEL      E             MESCHEN
 7             659   JOSEPH       M             MESQUITA
               660   ANDREW       JOHN          MESTAS
 8             661   ALMA         SUSANA        MEZA
 9             662   GUSTAVO                    MEZA
               663   JONATHAN     ALEXANDER     MEZQUITA
10             664   LISA         ANN           MEZQUITA
11             665   JOSHUA       B             MIDDAUGH
               666   JERRY        LEE           MILLER
12
               667   RAFAEL       GEOVANNY      MINJAREZ
13             668   MATTHEW      J             MITCHELL             JR
               669   TONY         MICHAEL       MITCHELL
14
               670   DIANE                      MITCHELL
15             671   GAMEZ        BARRERA       MOISES
               672   MERIAL       M             MOLETT
16
               673   KEVIN        LEE           MONCHAMP
17             674   MICHAEL      ALBERT        MONTANEZ
               675   ANGEL        GABRIEL       MONTANO
18
               676   MURRIA       DAVIN         MONTGOMERY
19             677   OSCAR        D             MONTIJO

20             678   MANUEL       R             MONTOYA
               679   JOHNNIE      RAY           MONTOYA
21             680   RANDALL      BRIEN         MOORE

22             681   KENT         RICHARD       MOORE
               682   MONIQUE      IRMA          MORALES
23             683   MARIA        D             MORENO
24             684   ERICA                      MORENO
               685   ROBERT       DAVID         MORGAN
25             686   DANIEL       JAMES         MORGAN
26             687   PAUL         LYNDON        MORGAN
               688   ERIC         CHRISTOPHER   MORONES
27
               689   ERIC                       MORONES
28             690   TARI         ELIZABETH     MORRIS



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               691   KERMAN        JAMES        MORRIS
 1
               692   SHARLYN       V            MORRIS
 2             693   ROBIN         LYNN         MORRISON

 3             694   SEAN          R            MORRISON
               695   REGINA        RENEE        MORRISON
 4             696   DANIEL        THOMAS       MORROW

 5             697   BENJAMIN      E            MOSELEY
               698   DANIEL        JOSEPH       MOSTRALES
 6             699   DENNIS        PATRICK      MOYO
 7             700   GARY          STEVEN       MUELLER            JR
               701   WISSAM                     MUHAMMED
 8             702   JAIME         ALBERTO      MUNET
 9             703   ALBERTO       MENDIVIL     MUNEZ
               704   SALVADOR      A            MUNOZ              SR
10             705   DANIEL                     MUNOZ
11             706   ANDREW        PAUL         MUNSON
               707   CHRISTOPHER   MICHAEL      MUR
12
               708   EFRAIN                     MURILLO
13             709   MOYA          NATALEE      MURRAY
               710   JEFFERY       A            NAGY
14
               711   TIMOTHY       J            NAPOLSKI
15             712   TRINA         JEAN         NASH
               713   BLAINE        J            NASTACIO
16
               714   VICTOR        JOVAN        NAVARRETTE
17             715   ERIC          M            NAYLOR
               716   DAVAR                      NEJAD
18
               717   GERALD        WAYNE        NELSON
19             718   YVETTE                     NELSON

20             719   FREIDA        CHEE         NEZ
               720   LYSSA         MERCEDES     NGUYEN
21             721   HUNG          THIA         NGUYEN

22             722   GREGORY       STUART       NICHOLS
               723   JEFFREY       SCOTT        NORIN
23             724   MATTHEW       JAMES        NORRIS
24             725   GLENN         ALEXANDER    NOYES
               726   SCOTT                      NUESCA-HILL
25             727   FRANK         RICHARD      NUNEZ
26             728   JESSICA                    NUNEZ
               729   AMBROSE       OKEDIMA      NWULU
27
               730   ALVARO                     OCHOA
28             731   RODERIC       NEWELL       O'CONNOR



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               732   DANIEL        NICHOLAS     OETZEL
 1
               733   DANIEL                     OETZEL
 2             734   MARTIN        J            OLAGUEZ

 3             735   MARTIN                     OLAGUEZ           JR
               736   ELLEN         LYNN         OLHEISER
 4             737   JIMMIE        RODGER       O'MALLEY

 5             738   ELIZABETH     EFFIONG      OMON
               739   FRANKLIN      PATRICK      ONEAL
 6             740   ANTHONY       A            ORLOWSKI
 7             741   ANTHONY                    ORLOWSKI
               742   MIGUEL        ANGEL        OROZCO
 8             743   VICKIE        ANN          OROZCO
 9             744   GREGORY       JULIAN       OSBORNE
               745   STEVEN        F            OTHON
10             746   GERALD        K            OTTO
11             747   CHRISTOPHER   A            OWENS
               748   CLARENCE      J            OWENS
12
               749   ADEFEMI       MICHAEL      OYETEDE
13             750   CLAUDIA       B            PACHECO
               751   ZACHARY       MICHAEL      PACHECO
14
               752   ALLEN         J            PADELFORD
15             753   ADOLFO                     PADILLA           JR
               754   SALVADOR      JAMES        PARISI
16
               755   MICHAEL       R            PARKER
17             756   ANDREW        SCOTT        PARKER
               757   LUIS          JAVIER       PATINO
18
               758   ELIJAH        JOSHUA       PAYAN
19             759   MAURICE       L            PAYNE

20             760   DOUGLAS       WAYNE        PAYSSE
               761   BREONA        DANILE       PEAK
21             762   ROGER         W            PEARSON

22             763   LEONARD       JAMES        PERALTA
               764   JUAN          CARLOS       PEREZ
23             765   JOSEPH        NATHANAEL    PERFECTO
24             766   RICHARD       A            PERRONE
               767   CHRISTOPHER   HARRISON     PERRY
25             768   HASIB                      PERVIZ
26             769   MORIN         JOSEPH       PETERMAN
               770   SARAH         RAYANNE      PETERS
27
               771   KEN           CURTIS       PHILLIPS
28             772   SHANE         MATTEW       PHILLIPS



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               773   JAMES        CALEB         PHIPPS
 1
               774   CYNTHIA      LYNN          PIERSON VENTURA
 2             775   JOHN         ANGEL         PIEVE

 3             776   RONALD       A             PINCKNEY
               777   FERNANDO     EDGARDO       PINEDA
 4             778   ELVIRA       ARCIGA        PLANCARTE

 5             779   MICHAEL      L             POGGI
               780   STEPHANIE                  PONCE
 6             781   GARY         PAUL          POTTER
 7             782   GARY                       POTTER
               783   SUZANNE      LEA           POTTS
 8             784   SKYLER       D             POWELL
 9             785   ARNULFO                    QUEZADA JR
               786   PAUL         JOSEPH        QUINN
10             787   RICHARD      R             QUINONES
11             788   MICHAEL      ANTHONY       QUIROZ
               789   RICK                       RAD
12
               790   MARK         LAWRENCE      RADTKE
13             791   ARMANDO      DELGADO       RAMIREZ
               792   JOSE         L             RAMIREZ
14
               793   JOSE         MANUEL        RAMIREZ
15             794   TAMMY        MONSERRAT     RAMIREZ
               795   JOSE         R             RAMIREZ
16
               796   MANUEL                     RAMIREZ
17             797   JORGE        LUIS          RAMOS
               798   CARMEN       ZARAY         RAMOS
18
               799   HERMAN       LYNARD        RANDALL
19             800   DAVID        ANTHONY       RANDOLPH

20             801   DREW         BARRY         RAUCHWAY
               802   ISAAC        B             REED
21             803   JOSEPH       DANIEL        REED DURAN

22             804   MICHAEL      GERARDO       REGALDO
               805   MARK         EDWARD        REITTER
23             806   MARGARITO    B             REYES VALENCIA
24             807   YENNIFER     NAYELI-YNEZ   REYES
               808   EUTIQUIO                   REYES
25             809   DANTAI       DIERRE        RICHARDSON
26             810   DONALD       DUVEY         RICHARDSON
               811   JASON        TROY          RIDDLE
27
               812   JOHN         LYNN          RIDING
28             813   INES                       RIOS



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               814   JAMES        A             RIOS
 1
               815   MICHAEL      WILLIAM       RISNER
 2             816   DAVID        L             RIVAS

 3             817   ANGEL        RAY           RIVAS
               818   MARK         ANTHONY       RIVERA
 4             819   JESUS        R             RIVERA

 5             820   OLGA         YOLANDA       RIVERA
               821   MICHELE      RENEE         RIVERS
 6             822   ANDREW       MAX           ROBERTSON
 7             823   CHRIS        J.            ROBINSON
               824   DAVID        MARCEL        ROBINSON
 8             825   MIGUEL       ANGEL         ROBLES
 9             826   JOSE         LUIS          ROBLES
               827   ALFONSO      M             ROBLES
10             828   JOSE         NIEVES        ROBLES
11             829   JOSE                       RODARTE
               830   MICHAEL      ANGEL         RODRIGUEZ
12
               831   GLORIA       ISABEL        RODRIGUEZ
13             832   RAFAIL       LINARES       RODRIGUEZ
               833   FERNANDO     LUIS          RODRIGUEZ
14
               834   SOLOMON      MARTINEZ      RODRIGUEZ
15             835   YUDELKA      MERCEDES      RODRIGUEZ HOLGUIN
               836   DAVID        MICHAEL       RODRIGUEZ
16
               837   BENNY        T             RODRIGUEZ
17             838   DORIS                      RODRIGUEZ
               839   MARIBEL                    RODRIGUEZ
18
               840   ARMANDO                    RODRIGUEZ
19             841   HECTOR                     RODRIGUEZ           JR
                                                RODRIGUEZ
20             842   EDWARD                     MARTINEZ
               843   BERTHA                     RODRIGUEZ
21
               844   ALFONSO                    RODRIGUEZ JR
22             845   JULIO                      RODRIGUEZ

23             846   CONCEPCION                 RODRIQUEZ           JR
               847   SOKHA                      ROEUN
24             848   FAVIO                      ROJAS

25             849   RICHARD                    ROMERO              JR
               850   WALTER       ALEXANDER     ROMERO
26             851   LUIS                       ROSALES
27             852   FELIPE                     ROSALES
               853   CHRISTINA                  ROSALES
28

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               854   HOLIFIELD     III,         ROSCO
 1
               855   FRANKLIN                   ROSELL
 2             856   IMARA                      ROSS

 3             857   JOSHUA        JONATHAN     ROSS
               858   PAHKALIJAE                 ROSS,
 4             859   ROMAN         D            RUBIO

 5             860   MICHELLE      RENE         RUDOLPH
               861   GERARDO                    RUIZ                  JR
 6             862   MARCO         A            RUIZ
 7             863   INES          ALEJANDRA    RUIZ
               864   RAMON         ANGEL        RUIZ
 8             865   JESSICA       JULIANA      RUIZ
 9             866   JEFFREY       ALAN         RUSH
               867   TARIQ         MISAD        SAADEH
10             868   STEVE         FOUZI        SABBAGH
11             869   SAMUEL        ALI          SAGU-SAENZ
               870   JUSTO                      SALCEDO
12
               871   MARGARITO     AVILA        SALDANA
13             872   HENRY         BERVAL       SAMSON
               873   JOSEPH        DEREK        SAN
14
               874   RICHARD       OSCAR        SANCHEZ
15             875   KIMBERLY      SUE          SANCHEZ
               876   CHRISTOPHER                SANCHEZ ALCANTAR
16
               877   ANA                        SANCHEZ RIOS
17             878   MATTHEW                    SANCHEZ ITURBE
               879   TED           L            SANDERS
18
               880   JOE           NUGHAN       SANDLES
19             881   MARTIN        ANDY         SANGLAS

20             882   ERIC          RENE         SANTAMARIA
               883   JIM           GIANLUCA     SANTORO               JR
21             884   EDUARDO                    SANTOS

22             885   JAMES                      SAO
               886   JAMES         AINSLIE      SASSI
23             887   CHRISTOPHER   JAMES        SAUCIDO
24             888   CARLOS        DEONDRAY     SAVAGE
               889   MILO          CURTIS       SAYLER
25             890   STEVEN        KENT         SCHEELER
26             891   ROBIN         L            SCHIMETZ
               892   ROLF          D            SCHMIDT
27
               893   EMANUEL       J.           SCHWARTZ
28             894   BRENDAN                    SCHWARTZ



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               895   ALEXANDER    GRANT         SEKORA
 1
               896   DAMESHA      LASHONDRA     SELLMAN
 2             897   ELOUIEZ      MAE           SEMINOLE

 3             898   GREGORY      ALAN          SEMPSROTE
               899   FELICIA      NAOMI         SENFT
 4             900   YESLHA       TERESA        SERRANO

 5             901   FAHEEM       A             SHAKIR
               902   TWYLA        LAWANNA       SHARON
 6             903   KEEGAN       DAVID         SHAW
 7             904   GREGORY                    SHAW
               905   JEFFREY      EDWARD        SHEBLE
 8             906   EARL         G             SIERRA
 9             907   GLAFIRA      F             SIFUENTES
               908   JOSHUA       LOUIS         SILVERSTEIN
10             909   RICHARD      GREGORY       SIMON
11             910   SHAYLA       AFUA          SIMONE
               911   RYAN         WAYNE         SIMONS
12
               912   SEAN         MICHAEL       SIMPSON
13             913   ADALBERTO                  SIQUEIROS
               914   DERICK                     SISOMBATH
14
               915   JOHNATHAN    IRIS          SLAY
15             916   TERRY        MICHAEL       SLOAN BOATLEY
               917   ELIJAH       RASHAAD       SMALL
16
               918   ROBERT       GASTON        SMETS
17             919   SAMANTHA     JEANNE        SMITH
               920   STEVEN       KENT          SMITH                JR
18
               921   ZACHARY      KYLE          SMITH
19             922   LYNN         MARIE         SMITH

20             923   RAYMOND      T             SMITH
               924   JAMES                      SMITH HART
21             925   BRYAN                      SNOW

22             926   JAMES        ORREN         SNYDER
               927   JASON        EDWARD        SOBARZO
23             928   ANDREA       JODIE         SOLAREZ
24             929   SHERRY                     SOLOMON
               930   JOHN         PAUL          SOTO
25             931   JASON        EDWARD        SOUTHARD
26             932   KATHRYN      MICHELLE      SPRINGER
               933   JASON        N             STAATS
27
               934   JASON                      STAATS
28             935   HENRY        GLEN          STANFORD



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               936   OREN            EUGENE       STATES
 1
               937   OREN                         STATES
 2             938   BRIAN           JOHN         STEEN

 3             939   MARY JO                      STENNER
               940   JACK                         STEPHANIE
 4             941   TRAVIS          WAYNE        STEPHENS

 5             942   ANGELINA                     STEVENS
               943   ANNA            S            STILES
 6             944   DEREK           WAYNE        STINGLEY
 7             945   BEN             G            STINSON           II
               946   ANTHONY         R            STIRPE
 8             947   ISAIAH          ANTONIO      STRAUGHTER
 9             948   DEWAYNE         B            STRICKLIN
               949   CRAIG           EDWARD       STUEHLING
10             950   JAMES           ALLEN        SUHR
11             951   SPENCER         MICHAEL      SUNIGA
               952   ERDUAN                       SURIF
12
               953   BRIAN           L            SUSKO
13             954   JASON                        SWAIM
               955   DAVID           MOIJUEH      SWARAY            JR
14
               956   BRIAN           D            SWEET
15             957   EMMETT          DALTON       TABER
               958   VALENTIN        VALENTINOV   TALEV
16
               959   ZAID            NASRAH       TALFAH
17             960   CLELUS          NATHANIEL    TANG
               961   CHARQUYNDELYN   DEZJORAE     TAYLOR
18
               962   RENA            JEAN         TAYLOR
19             963   BENJAMIN        AMOS         TEAGUE

20             964   THOMAS          GEOFFREY     TECCHIO
               965   BABAK                        TEIMOURIAN
21             966   RODNEY          DEAN         TENNISON

22             967   MICHAEL         DEWAYNE      TENSLEY
               968   CANDY           ANN          TERRY
23             969   STROUD          II,          THOMAS
24             970   HEDRICK         JR,          THOMAS
               971   ASHLEY          COLLETTE     THOMPSON
25             972   MARCUS          EMANUEL      THOMPSON
26             973   SHANE           W            THOMPSON          JR
               974   TAMMY                        THOMSON
27
               975   MARCUS          ANDREW       THORNTON
28             976   MARCUS                       THORNTON



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               977   BRETT         VAN          TICHELT
 1
               978   SORIN                      TOMA
 2             979   JAMES         MARCEL       TOMASINO

 3             980   JULIA         ERIN         TOPE
               981   JESSICA                    TOPOLSKI
 4             982   RHONDA                     TORBET

 5             983   MARCO         A            TORRES
               984   ASCENCION                  TORRES
 6             985   NICHOLAS                   TOWNSEND
 7             986   DELANO                     TREMBLE
               987   LAWANA                     TREMBLE
 8             988   ROBERT        HALL         TRENT
 9             989   MONIQUE                    TUGGLE
               990   CHRISTOPHER                TUIONE
10             991   JEFFREY       DURHAM       TURNAGE
11             992   KIM           LOUISE       TURPIN
               993   CATALINA      M            ULLOA
12
               994   ANGUS         SCOTT        UPSHAW
13             995   CESAR                      URENA
               996   ANDREA                     URIARTE
14
               997   ROMANA        G            URIAZ HURRUTINER
15             998   JASON         P            URICH
               999   GERALD        CARLOS       URRUTIA
16
              1000   ALFREDO       MOLINA       V
17            1001   GERMAN        A            VAHOS
              1002   ANTONIO       PABLO        VALENCIA
18
              1003   JESSICA       ANN          VALENZUELA
19            1004   MICHAEL       JOSEPH       VALENZUELA

20            1005   ANDREW        MICHAEL      VALIQUETTE
              1006   REYNA         MARIE        VALLES
21            1007   OLIVIA        PAULINE      VAN

22            1008   ROBERT        LEE          VANN               JR
              1009   MAYRA         K            VARGAS
23            1010   VIRGINIA                   VARGAS
24            1011   JUSTIN        J            VAUGHN
              1012   NOLEN         CRUZ         VAZQUEZ
25            1013   GILBERT                    VAZQUEZ
26            1014   MARY          E            VELA
              1015   XAVIER                     VELARDE
27
              1016   PETER                      VENEZIALE
28            1017   JOSEPH                     VENTURA



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              1018   FRANKI                     VERDI-MCGHEE
 1
              1019   DAVID        MARK          VERDUGO
 2            1020   MARK         A             VERDUZCO

 3            1021   LARRY        BAKER         VEST
              1022   CESAR        ALBINO        CASTILLO
 4            1023   KIMBERLY     KAY           VICKERMAN

 5            1024   KENNETH                    VICKOREN
              1025   CHRISTIAN    ALEXIS        VILLANUEVA
 6            1026   MICHAEL      EDWARD        VINCENT
 7            1027   YOKHY                      VIRAPHANDETH
              1028   WILLIAM      JOHN          VOIGT
 8            1029   PAUL         KOLA          VULAJ
 9            1030   NIKOLA                     VULIN
              1031   THOMAS       MARK          WAKEFIELD
10            1032   BRANDON      KYLE          WALKER
11            1033   PATRICE                    WALKER
              1034   LATRICE                    WALKER
12
              1035   MATTHEW                    WALKER
13            1036   CHRISTIAN                  WALL
              1037   STEVE                      WALTERS
14
              1038   GERALD                     WALTERS
15            1039   JASON        MATHEW        WAMBLE
              1040   TERRI        LYNN          WAMPLER
16
              1041   DAVE         RUSSELL       WARD
17            1042   BRYON        ALLEN         WARREN
              1043   ANGELO       A             WASHINGTON
18
              1044   FEDERICO                   WATANABE
19            1045   EMELYNE                    WATCHMAN

20            1046   JEFFERY      L             WATERS
              1047   MARTEL       HOSEA         WATKINS
21            1048   ERIC         EUGENE        WATTS

22            1049   WISE,                      WAYNE
              1050   CLARY        HILTON        WEBBER
23            1051   DILLON       FORREST       WEBSTER
24            1052   CAMERON      MARK          WEBSTER
              1053   DAVID        ALEXIS        WELLINGTON
25            1054   RONALD       E             WELLS
26            1055   JAMES        RICHARD       WEST
              1056   ANASTASIA    MARIE         WHALEY
27
              1057   MARK         MAURICE       WHITAKER
28            1058   CYNTHIA      LYNN          WHITE



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              1059   RAYMOND      TERRY         WHITE
 1
              1060   WILLIAM      OLIVER        WHITEMAN
 2            1061   BILL         W             WHITEMAN

 3            1062   ROY          MARCOS        WHITLOW
              1063   CARL         DUANE         WIEBE
 4            1064   DEWOYNE                    WILLIAMS

 5            1065   YVETTE       CRUZ          WILLIAMS            SR
              1066   BRIAN        DONALD        WILLIAMS
 6            1067   ROBERT       JAMES         WILLIAMS
 7            1068   HOWARD       LARRY         WILLIAMS
              1069   HENRY        LEE           WILLIAMS
 8            1070   STEVEN       OWEN          WILLIAMS
 9            1071   GERALD                     WILLIAMS
              1072   ALIESHA      ANN           WILLINGHAM
10            1073   BRENDA       LEE           WILLNER             IV
11            1074   CHERISE                    WILSON
              1075   KIMALA       DAWN          WILSON-PROCTOR
12
              1076   ANGELA       R             WINFIELD
13            1077   WAYNE        JARRETT       WISE
              1078   EDWARD       WADE          WISE
14
              1079   NICHOLE      ANN           WITT
15            1080   TIMOTHY      JAMES         WOODGEARD
              1081   BOYD         LEON          WORTHEN
16
              1082   GEORGE       A             WRIGHT
17            1083   BRADLEY      ANDREW        WRIGHT              III
              1084   MARK         EUGENE        WRONA
18
              1085   DENNIS       JAMES         WYLIE
19            1086   MICHAEL      KARL          XAVIER

20            1087   MATHEW       JOSEPH        YAEGGI
              1088   YUSUF        TIYARI        YARBROUGH
21            1089   TAMARA       LYNN          YATES

22            1090   JULIAN       MONTIJO       YEPIZ
              1091   TIMOTHY      JAMES         YINGLING
23            1092   SHATHA                     YOUKHANA
24            1093   JIMMY        VALENCIA      YOUNG
              1094   RODRIGUEZ                  YUDELKA
25            1095   ADAM         JAMES         ZIEDENWEBER
26            1096   CRAIG        MARTIN        ZUCHELKOWSKI
              1097   THOMAS       E             ZUNIGA              JR
27
              1098   JAMES        T             ZUZU
28

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